                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                   AT GREENEVILLE

JESSE M. NEAL,                                      )
                                                    )
               Petitioner,                          )
                                                    )
v.                                                  )       Nos.    2:12-CR-122-RLJ-1
                                                    )               2:16-CV-178-RLJ
UNITED STATES OF AMERICA,                           )
                                                    )
               Respondent.                          )


                                            ORDER

       On June 20, 2016, Petitioner filed a pro se motion to vacate, set aside, or correct his

sentence pursuant to 28 U.S.C. § 2255, challenging his career offender designation in light of

Johnson v. United States, 135 S. Ct. 2551 (2015) [Doc. 287]. Consistent with this Court’s

Standing Order, Federal Defender Services of Eastern Tennessee (“FDSET”) filed a supplement

in support of Petitioner’s request later that same day [Doc. 290]. Both filings rely on Pawlak v.

United States—in which the Sixth Circuit cited Johnson’s invalidation of the ACCA residual

clause as the basis for invalidating Section 4B1.2(a)(2)’s parallel provision, 822 F.3d 902, 911

(6th Cir. 2016) [Doc. 287 pp. 3–8 (suggesting prior Tennessee convictions for aggravated

burglary are no longer capable of categorization as a crimes of violence); Doc. 290 pp. 15–27

(challenging use of both aggravated burglary and aggravated assault convictions)].

       On August 29, 2016, the United States responded with the suggestion that Petitioner’s

entitlement to collateral relief depends on whether or not Johnson’s impact on the Guidelines has

been made retroactively applicable to cases raised in the context of collateral review [Doc. 297 p.

2]. Noting that the Supreme Court has agreed to address this very issue next term in Beckles v.




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United States, No. 15-8544, 2016 WL 1029080 (June 27, 2016), the United States requests that

the Court stay its resolution of the instant petition pending that decision [Id. at 2–3].

       In a recent published opinion, the Sixth Circuit recognized that “it is not clear whether to

treat Pawlak as a new rule that the Supreme Court has not yet made retroactive [to cases on

collateral review] or as a rule dictated by Johnson that the Supreme Court has made retroactive.”

In re Embry, No. 16-5447, 2016 WL 4056056, at *1 (6th Cir. July 29, 2016). While district

courts are generally responsible for deciding, in the first instance, whether “Pawlak is a new rule

or not,” Id. at *4, multiple Sixth Circuit opinions have endorsed holding petitions similar to the

instant one “in abeyance pending the Supreme Court’s decision in Beckles,” Id. at *4; see also In

re Patrick, No. 16-5353, 2016 WL 4254929, at *4 (6th Cir. Aug. 12, 2016). The justification for

doing so is that, “[a]fter . . . [Beckles], the district courts will be well positioned to handle

[Johnson-based challenges to the Guidelines] fairly and efficiently.” In re Embry, 2016 WL

4056056, at *4. The propriety of such a stay is further reinforced by the fact that at least two

panels from the Sixth Circuit have adopted contrasting predictions for what the Beckles decision

will hold. Compare Id. at *4 (“If pressed to decide the question now, we would lean in favor of

saying that Pawlak . . . . rests on a new rule of constitutional law that the Supreme Court has not

recognized, much less made retroactive on collateral review.”), with In re Patrick, 2016 WL

4254929, at *3 (“The Supreme Court’s rationale in Welch for finding Johnson retroactive [in the

ACCA context] applies equally to the Guidelines.”).

       For the reasons discussed, the Court agrees that issuance of a stay is appropriate under the

circumstances. Accordingly, United States’ request is GRANTED and the action [E.D. Tenn.

Case No. 2:16-CV-178-RLJ] STAYED pending the Supreme Court’s decision in Beckles. The

parties are DIRECTED to file a joint status report within thirty (30) days of that decision.

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     IT IS SO ORDERED.

                                               ENTER:




                                                s/ Leon Jordan
                                                  United States District Judge




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